 Case 3:09-cr-00221-ADC              Document 196          Filed 02/24/12         Page 1 of 11

                              IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,

        v.

ANDRÉS NÚÑEZ,                                                     CRIM. NO. 09-221 (PG)

      Defendant.


                                           OPINION AND ORDER
        Pending disposition by this Court is a motion to withdraw a plea of
guilty       filed      by    defendant        Andrés      Núñez        (“Núñez”),     along      with    its
supplement.        Dockets         No.   137      and    194.     The     Government     has      filed    an
opposition to said request. Docket No. 150. Because the Court finds that
Núñez has failed to raise enough facts to establish a fair and just
reason for vacating his guilty plea, the Court DENIES his motion without
a hearing.
                                           I.         BACKGROUND

        On June 25, 2009 a Grand Jury rendered a four count indictment
against       Núñez      and       sisters        Rosa     and     Ana     Piedrahita         (hereinafter
“Defendants”), alleging that they aided and abetted, as well as conspired
with each other, in the concealment of assets belonging to the Chapter 11
bankruptcy      estate        of    debtor      ALR      Investment       Corp.     d/b/a     Farmacia     El
Señorial (hereinafter “ALR” or “the debtor”), in violation of Title 18,
United States Code, §§ 152(1), 371 and 2. See Docket No. 2. The gist of
the     indictment           consisted       of     charging        Defendants         with      concealing
approximately $200,000 of estate property through the use of covert bank
accounts, which were unauthorized by the Bankruptcy Court. Furthermore,
by    failing      to    file      monthly      operating        reports     with      said    court,     the
Government         denounces        that   Defendants            were    able     to   conceal       another
$700,000      of     estate        property,       which    were        moving    through      the    court-
approved, Debtor in Possession (DIP) accounts. The Bankruptcy Court,
which never had an opportunity to learn of the existence of these funds,
ended up dismissing ALR’s petition. See In re ALR Investment Corp. d/b/a
Farmacia el Señorial, Case No. 03-06571 (JMD)(Bankr.D.P.R.). These events
spurred the current criminal prosecution now before this Court.
        After the required procedures took place, the Court set a jury
 Case 3:09-cr-00221-ADC             Document 196          Filed 02/24/12       Page 2 of 11
Criminal No. 09-221 (PG)                                                                              Page 2

trial       date    for   October      13,   2010.    Two     days   before         trial,      all    three
defendants filed motions for change of plea, requesting they each be
allowed to plead guilty to the charges against them. Docket No. 89 and
90. The trial date was vacated and on October 22, 2010, Núñez pled guilty
to count one of the indictment pursuant to a plea agreement. See Dockets
No. 100 and 104. For the purposes of sentencing, he agreed to “knowingly
concealing         approximately        $30,000      to    $69,000       in    accounts         receivable
belonging to ALR.” Docket No. 104 at 8. Based on this amount and other
factors,       the      parties     agreed    to     recommend       a     sentencing           guidelines
calculation of 13. See id. at 3. Assuming a Criminal History Category I,
this yielded a guideline imprisonment range of 12-18 months. Id. At
sentencing, the plea agreement called for the parties to recommend a
split sentence of imprisonment and home confinement at the lower end of
the stipulated guideline range. Id.
        On February 24, 2011, four months after Defendant pled guilty, the
United States Probation Office (“USPO”) disclosed an amended presentence
investigation report (“PSR”). See Docket No. 115. According to the PSR,
Núñez accepted responsibility as stipulated in the government’s version
of facts. In particular, “[h]e expressed being repentant because it was
something [that] should have never happened, and he could have stopped
it.” Id. The PSR also awarded Defendant a three level reduction for his
acceptance of responsibility. See id. at 17.
        The PSR, however, was less condescending with Núñez with respect to
the remaining guidelines computations. While the Plea Agreement called
for     an    imprisonment         range     of    12-18      months,         the       PSR’s   new    loss
calculations called for a range of 30-37 months.1 Id. at 21. In addition,
the PSR recommended that Núñez be ordered to provide one of the main
creditors          in   the    case,    Filencio      Valentín,       with          a    restitution     of
$123,707.42. Id. at 22.
        On     March          1,   2011,      Núñez’s         attorney,             Lydia       Lizarribar
(“Lizarribar”), filed a motion to reschedule the sentencing hearing. See
Docket No. 117. The stated reason for the continuance was so that Núñez
could lodge several objections to the PSR. The Court granted the motion

        1
        While the Plea Agreement’s recommended guidelines range placed Núñez
within Zone B, which recommends a split sentence of home confinement and
imprisonment, the new range favored by the PSR now placed Núñez within Zone D of
the guidelines, which recommends imprisonment for the whole sentence.
 Case 3:09-cr-00221-ADC        Document 196      Filed 02/24/12     Page 3 of 11
Criminal No. 09-221 (PG)                                                               Page 3

and reset the sentencing hearing for April 8, 2011.
       On March 28, 2011 attorney Lizarribar petitioned the Court for
leave to withdraw as legal representative, which the Court granted. See
Dockets No. 123 and 127. The following day, on March 29, 2011, attorney
Rafael Castro-Lang (“Castro-Lang”) appeared for Núñez. See Docket No.
125.   Following    this,      Núñez    filed   a   couple    of     motions       requesting
continuances for the sentencing hearings, asking for additional time to
file formal objections to the PSR. See Docket No. 126 and 131. The Court
granted both motions. Dockets No. 130 and 134.
       On May 16, 2011, the USPO issued an Amended PSR (“Amended PSR”).
The Amended PSR contained several changes, including additional victims
and a revised statement of Defendant’s acceptance of responsibility. See
Docket No. 135. As for the victims, the Amended PSR identified four
additional victims/creditors who were seeking approximately $80,262.12 in
restitution. Id. at 16-17. Four days after the disclosure of the Amended
PSR, Núñez filed the motion to withdraw plea of guilty currently pending
before the Court. Docket No. 137.
       In his motion seeking the Court to allow him to withdraw his plea
of   guilty,   Núñez   argues    that    he   was   unaware   that     co-defendant      Rosa
Piedrahita intended to file a bankruptcy petition, and that in any case
he was not required to file monthly operating reports, as this was Rosa
Piedrahita’s obligation. Núñez also claims that he lacked a specific
intent to defraud the bankruptcy court, as the failure to file the
operating reports and the opening of the unauthorized First Bank account
were both undertaken under the advice of ALR’s bankruptcy lawyer. As to
his personal, but unauthorized Caribe Federal account, Núñez states that
the same was opened with the purpose of paying ALR’s creditors, including
himself, for the loans he had made to ALR. In all, Núñez claims his
actions were carried out with the consent of his bankruptcy lawyer, and
ultimately done for the benefit of ALR’s creditors, reason for which he
should be cleared of all charges.

                                       II.    DISCUSSION

       Federal Rule of Criminal Procedure 11 provides that a defendant may
withdraw his or her guilty plea prior to sentencing for any “fair and
just   reason.”    Fed.   R.    Crim.   P.    11(d)(2)(B).    The     First    Circuit    has
 Case 3:09-cr-00221-ADC     Document 196     Filed 02/24/12   Page 4 of 11
Criminal No. 09-221 (PG)                                                     Page 4

identified several factors to determine whether there is a “fair and just
reason” to permit a withdrawal of a guilty plea, “the most significant
being whether the plea was voluntary, intelligent and knowing, within the
meaning of Rule 11.” United States v. Pulido, 566 F.3d 52, 57 (1st Cir.
2009)(emphasis in original). Other factors include: (1) the plausibility
and weight of the reasons offered by the defendant; (2) the timing of the
request; (3) whether there is a serious claim of actual innocence; (4)
whether the parties reached (or breached) a plea agreement; and (5) any
countervailing prejudice to the government if the defendant is allowed to
withdraw his plea. See United States v. Sousa, 468 F.3d 42, 46 (1st
Cir.2006); Marrero-Rivera, 124 F.3d at 347. The Court, mindful that it is
the defendant who carries the burden of persuasion in showing a fair and
just reason, United States v. Isom, 85 F.3d 831, 834 (1st Cir. 1996),
concludes that the above factors strongly weigh towards upholding the
guilty plea.

        A. Núñez’s Plea was Voluntary, Intelligent and Knowing

        Núñez claims that his plea was not entered intelligently as he was
under    pressure   and   “followed   his   lawyer’s   advice   that   because   the
government had extended a very good plea offer he should accept it as a
risk avoidance measure.” Docket No. 137 at 6. As such, he claims his plea
meets the standard of “legally suspect.” Id.
        The First Circuit has identified three ‘core concerns’ of Rule 11:
1) absence of coercion; 2) the defendant's understanding of the charges;
and 3) the defendant's knowledge of the consequences of the guilty plea.
Isom, 85 F.3d at 835. During the plea colloquy, the following exchange
took place between the Court and the Defendants, including Núñez:
             THE COURT: Has anybody made any promises to you that
             are not included in the Plea Agreement or offered you any
             matter of monetary value to get you to plead guilty?

             (All three defendants responded in the negative.)

             THE COURT: Has anybody mentioned to you what specific
             sentence I will impose on each one of you?

             (All three defendants responded in the negative.)

             ....

             THE COURT: It means that if I were to impose a sentence that
 Case 3:09-cr-00221-ADC         Document 196        Filed 02/24/12   Page 5 of 11
Criminal No. 09-221 (PG)                                                                 Page 5

              turns out to be higher than any one you might be expecting,
              that reason alone will not be grounds for the Court to allow
              you to withdraw your plea of guilty.

              Do you understand that?

              (All three defendants responded in the affirmative.)

              ....

              THE COURT: In paragraph 17 [of the Plea Agreement] each one of
              you is representing to the Court that you are entering into
              the Plea Agreement without compulsion, threats or any other
              promises from the United States Attorneys' office or any of
              its agents, and that you acknowledge that no threats have been
              made against you to induce you to plead guilty and that each
              one of you is pleading guilty freely and voluntarily because
              in fact you are guilty.

              Is that correct?

              (All three defendants answered in the affirmative.)

Docket No. 193 at 11-12, 26 (emphasis added). As can be gleaned from the
above, none of the Defendants asserted that they felt threatened or
forced   to   plead    guilty    to    Count   I    of   the   indictment.      What’s    more,
Defendants were well aware that the Court was not obliged in any way to
impose the sentence recommended in the plea agreement, and they expressed
that no one had made any promises as to what kind of sentence the Court
would have meted out to them in exchange for pleading guilty. At the
change   of    plea    hearing,       the   Court     also     explained   in    detail    the
consequences of entering a guilty plea to Count I of the indictment, to
the acknowledgment of all Defendants. Id. at 7-10. As Núñez has not
alleged any core or structural deficiencies in the Rule 11 proceeding,
the Court is entitled to give weight to his assurances in open court. See
United States v. Torres-Rosario, 447 F.3d 61, 67 (1st Cir.2006).
     Moreover,        this   Court    agrees   with      the    Government      that   Núñez’s
experience as a retired supervisory federal law enforcement officer, and
as a former border patrol and local police agent, enabled him to fully
understand the consequences of entering a guilty plea. See United States
v. Padilla, 351 F.3d 594, 598 (1st Cir. 2003). Although Núñez claims his
plea “meets the standard of ‘legally suspect’” because he entered it as a
risk avoidance measure, he cites to no legal authority to back up such
claim. Thus, at first glance, it appears that Núñez entered his plea
 Case 3:09-cr-00221-ADC        Document 196         Filed 02/24/12     Page 6 of 11
Criminal No. 09-221 (PG)                                                                    Page 6

voluntarily, knowingly and intelligently.
     B. The Plausibility and Weight of Núñez’s Reasons and Núñez’s Claim
        of Actual Innocence are Insufficient to Allow Withdrawal of his
        Guilty Plea.

     As    part   of   his     motion   to    withdraw      his    plea     of    guilty,   Núñez
included various documents, which he claims support his assertion of
innocence. Among them are: (1) a statement under penalty of perjury; (2)
a statement of former counsel Lizarribar; (3) a memorandum of activity,
dated October 1, 2010, prepared by special agent Edgardo Rosado, relating
to an interview of ALR bankruptcy attorney José Cintrón (Cintrón’s ROI);
(4) a transcript of a hearing before the Bankruptcy Court on June 7,
2004, where a bankruptcy judge decided that dismissal of the bankruptcy
petition   benefitted       creditors;       and    (5)    polygraph       test   results     from
January 2010.
     i.     Núñez’s affidavit

     Núñez claims that the above documents clearly establish that he was
not responsible for ALR’s bankruptcy filing, and as such, none of the
actions    related     to   said   filing     can     be    attributed       to   him.   In    his
affidavit, Núñez maintains that he became involved in the bankruptcy
proceedings after they commenced, as ALR owed him “a substantial amount
of money.” However, he does admit to opening the unauthorized First Bank
Account as well as depositing ALR checks to his personal Caribe Federal
account. Núñez claims the funds were then used to pay creditors of ALR,
including salary payments to co-defendant Ana Piedrahita and that he
received no economic benefit from the transactions. Núñez even goes so
far as admitting that he used the proceeds of the ALR checks deposited
into his personal Caribe Federal account to pay himself for loans he had
made out to ALR. Even assuming that Núñez’s contention that he derived no
economic benefit from these transactions, courts have stated that using
concealed proceeds of estate property to pay debts does not negate a
fraudulent intent in such concealment. See United States v. Klupt, 475
F.2d 1015, 1018 (2nd Cir. 1973); Kalin v. United States, 2 F.2d 58, 59
(5th Cir. 1924); and Corenman v. United States, 188 F. 424, 110 C.C.A.
341 (C.C.S.D. N.Y. 1911)
     Moreover,       Núñez’s    deviation      of    funds    to     pay    select    creditors
(including himself) is undoubtedly a crass violation of the Bankruptcy
 Case 3:09-cr-00221-ADC               Document 196         Filed 02/24/12        Page 7 of 11
Criminal No. 09-221 (PG)                                                                                  Page 7

Code’s       policy       against      “preferences”         in      the     payment       of    creditors.2
Although      it     might      well    be     true   that       creditors       were       paid      from    the
accounts, it is no less true that these creditors were the fortunate ones
singled      out   by      Defendants         for   payment;         among    them    co-defendant            Ana
Piedrahita, for whom mortgage payments were canceled using property of
the    estate.        The       remaining         creditors,         which    apparently           fell      from
Defendants’ graces, were left to seek distribution from the assets that
were actually disclosed to the bankruptcy court. Thus, based on the above
and    the    fact    that       in    his    affidavit      Núñez         appears     to    admit        having
knowledge of the existence of the DIP accounts when the transactions took
place, a reasonable jury could find that Núñez had the requisite intent
to conceal assets from the Bankruptcy Court, in order to pay himself, Ana
Piedrahita, and other favored creditors before anyone else. Thus, there
is an adequate factual basis to sustain Núñez’s guilty plea.
       In his affidavit, Núñez also claims that the deposits to both the
First Bank and Caribe Federal accounts were done with the approval of
attorney Cintrón, who never informed Defendants that said actions were
illegal. In short, Núñez seems to rely on an advice of counsel defense to
cleanse any fraudulent intent on his part. The Court is unconvinced,
however,      as     it    is    well       settled   that       a    criminal       defendant         “is    not
immunized      from       criminal      prosecution         merely         because    he     consulted        an
attorney in connection with a particular transaction.” United States v.
Rice, 449 F.3d 887, 896-97 (8th Cir. 2006). The First Circuit has also
expressed skepticism on the advice of counsel defense in the context of a
criminal prosecution for bankruptcy fraud. In Boroff v. Tully (In re
Tully), 818 F.2d 106 (1st Cir. 1987), a debtor failed to indicate on his
bankruptcy forms that he owned certain promissory notes and other assets.
The debtor's counsel testified that he had advised the debtor to omit the
information, but the court found the testimony irrelevant. The court
stated: “[i]t is well settled that reliance upon advice of counsel is, in
this context, no defense where it should have been evident to the debtor
that   the     assets       ought      to    be   listed    in       the   schedules.”          Id.    at    111.

       2
        In general, a "preference" occurs when a debtor makes a payment or other
transfer of property to one or more creditors and not to others of the same
class. A preference is a form of favoritism prohibited by the Bankruptcy Code
(11 U.S.C. § 547) when a debtor is in bankruptcy. Subject to certain exceptions,
a trustee can recover such payments.
 Case 3:09-cr-00221-ADC         Document 196        Filed 02/24/12    Page 8 of 11
Criminal No. 09-221 (PG)                                                                   Page 8

Likewise, here it should have been evident to Núñez that favoring himself
and other creditors over others through the use of unauthorized accounts
was improper.
       Lastly, Núñez claims that the failure to file the monthly operating
reports     was    predicated       on   attorney     Cintrón’s       strategy      to    achieve
dismissal of the bankruptcy case. He argues that since it was Rosa
Piedrahita who carried the obligation of filing the reports, said failure
to file cannot be attributed to him, and consequently no fraudulent
intent to conceal assets existed. The fact that during the change of plea
hearing Defendants objected to the statement of facts prepared by the
government, and managed to strike the word “knowingly” from the phrase
“knowingly failed to file operating reports,” reinforces the argument,
according     to    Núñez.    The    Court,    however,       perceives      the    argument      as
unavailing, and finds that despite the modification to the statement of
facts, there was an adequate basis for accepting the guilty plea.
       The Court believes that the circumstances of this case point to the
inescapable conclusion that Núñez had the requisite intent to shield
assets from the Bankruptcy Court. As explained earlier, Núñez was aware
of the existence of the bankruptcy proceeding and the authorized DIP
accounts, but nonetheless chose to deposit property of the estate into
unauthorized       accounts    in    order     to   secure     payment     for     himself,    Ana
Piedrahita and other favored creditors before the rest of the creditors
participating in the bankruptcy proceedings. Moreover, while the failure
to file the operating reports may have been done pursuant to their
attorney’s instructions, none of the Defendants have made any showing
that   they     attempted     to    disclose    the     existence     of     the   unauthorized
accounts, nor the monies moving through them, to the bankruptcy court or
the U.S. Trustee. The Court must also take into account that Defendants
already pleaded guilty to Count I of the indictment, which charged all
Defendants with conspiracy to commit bankruptcy fraud. Docket No. 2.
Viewing   the      circumstances     and     evidence    in    this   case    as    a    whole,    a
reasonable jury could find that Núñez had the requisite intent to conceal
assets from the Bankruptcy Court. See United States v. Thayer, 201 F.3d
214 (3rd Cir. 1999)(Where officer of debtor corporation argued there was
no evidence showing that he knew he had a duty to file operating expenses
reports on behalf of debtor corporation, court held that section 152
 Case 3:09-cr-00221-ADC              Document 196         Filed 02/24/12        Page 9 of 11
Criminal No. 09-221 (PG)                                                                           Page 9

“penalizes concealment of assets, not failure to file expense reports,”
and found that there was sufficient evidence from which the jury could
have concluded that officer’s use of estate funds to make payments on a
condominium held in his name was an attempt to hide estate’s assets from
the Bankruptcy Court and the creditors.)

       ii. Sworn Statement of Lydia Lizarribar

       In   her    sworn       statement,      attorney            Lizarribar    states     that     Núñez
entered his guilty plea out of fear and as a risk avoidance measure after
the    government       furnished       him    with   a     very      low   plea      offer.   She    also
recounts    that       Núñez    has     maintained      his        innocence     as    to   the   charges
against him at all times during the proceedings. The first statement is
belied by Núñez’s own expressions at the change of plea hearing, where he
effectively stated to the Court that he had received no promises as to
what kind of sentence he would have received by pleading guilty. The
second statement also fails to find support in the record, given that in
the several motions Núñez filed between the time he pleaded guilty and
the time he filed his motion to withdraw the plea, no mention was made of
any claim of innocence. Moreover, Lizarribar’s statement fails to explain
why, believing he was innocent from the beginning, Núñez waited seven
months to withdraw his guilty plea.

       iii. Cintrón’s ROI

       The ROI of attorney Cintrón proffered by Núñez is another attempt
to establish that the failure to file monthly operating reports was not
intentional       on    his     part,    but     rather        a    product     of    Cintrón’s      legal
strategy. Having disposed of this argument earlier, the Court sees no
reason to address it again here. The ROI does show, however, that Núñez
had an insider role in ALR, as he and the other co-defendants paid
Cintrón’s retainer fee, and according to Cintrón he acted as “a part of
ALR” and maintained a financial interest in it.

       iv. Transcript of the Bankruptcy Hearing

       Núñez also offers a transcript of the hearing before the Bankruptcy
Court where said court dismissed ALR’s bankruptcy petition. He claims
that    dismissal       of     the    petition    was      a       testament     to   the   success     of
Cintrón’s strategy, and was one that benefitted creditors. However, the
Case 3:09-cr-00221-ADC       Document 196    Filed 02/24/12     Page 10 of 11
Criminal No. 09-221 (PG)                                                          Page 10

idea that creditors were benefitted from the dismissal is cast into doubt
by the Amended PSR’s new loss calculations, which shows that Defendants’
actions did result in a detriment to several creditors identified as
victims   there.   This   Court   will   also   express    no   view   as   to    how   the
bankruptcy proceedings might have fared had there been full disclosure by
Defendants of all ALR accounts.

      v. Results of a Polygraph Test

      Lastly, Núñez brings to the attention of the Court the results of a
polygraph test taken on January 16, 2010, which he claims corroborate his
claim of innocence. However, it is the general policy of this Court not
to admit the results of polygraph examinations into evidence. See United
States v. Rodríguez-Berríos, 573 F.3d 55, 73 (1st Cir. 2009); United
States v. Black, 78 F.3d 1, 7 (1st Cir. 1996). The Court also fails to
comprehend why, having the results of these tests since January 2010,
Núñez pleaded guilty to the charges against him, and then waited seven
months to recant his guilty plea.

      C. The Timing of the Request, the Reaching of a Plea Agreement, and
         the Prejudice to the Government all Disfavor Allowing the
         Withdrawal of the Plea.

      With respect to the remaining factors to be considered in assessing
the merits of a motion to withdraw a plea of guilty, the Court finds that
they heavily weigh towards rejecting Núñez’s change of plea request.
      Núñez pled guilty on October 22, 2010 but did not file his motion
to withdraw guilty plea until almost seven months later, on May 20, 2011.
In United States v. Parrilla-Tirado, 22 F.3d 368, 373 (1st Cir. 1994),
the First Circuit stated that delayed requests for withdrawing a guilty
plea “are generally regarded with disfavor” and that “[t]he rule of thumb
is that the longer a defendant waits before moving to withdraw his plea,
the   more   potency   his   motion   must   have   in    order   to   gain      favorable
consideration.” Although Núñez claims that any delay in filing his motion
to withdraw guilty plea is due to his having to retain new counsel, the
truth is that his new attorney arrived in this case on March 29, 2011,
more than five months after entering his guilty plea. Having found that
Núñez’s arguments are unavailing, the Court must also find that Núñez’s
long delay in filing the motion also cuts sharply against granting his
Case 3:09-cr-00221-ADC        Document 196     Filed 02/24/12   Page 11 of 11
Criminal No. 09-221 (PG)                                                         Page 11

request.
      Further, the Court reads into Núñez’s motion a belated attempt to
conjure up a trial, where Núñez’s main act will revolve around his advice
of   counsel    defense.      Notwithstanding,       on    September    28,   2010,    the
Government filed a motion for disclosure of advice of counsel defense
under Rule 16, seeking, among other relief, that Defendants disclose
their intent to rely on the advice of counsel defense before October 5,
2010, seven days prior to the scheduled commencement of trial. Docket No.
72. Although the Court granted the motion, Defendants never announced
that they would rely on the defense. Thus, Núñez cannot now seek to
withdraw his guilty plea in order to resurrect his advice of counsel
defense, when the time for doing so has already passed.
      The fact that the parties arrived at a plea agreement, where all
Defendants     acknowledged    that   the    Court   has    authority   to    impose   any
sentence up to the maximum imposed by statute, in this case five years,
also weighs towards disallowing a change of plea at this stage. In
addition, the government would suffer prejudice as the events in this
case are almost nine years since past, and their witnesses’ memories are
no doubt clouded.
                                   III. CONCLUSION

      For the foregoing reasons, Núñez’s request to withdraw his plea of
guilty is DENIED.
      IT IS SO ORDERED.
      In San Juan, Puerto Rico, February 24, 2012.


                                                  s/ Juan M. Pérez-Giménez
                                                    JUAN M. PEREZ-GIMENEZ
                                                 SENIOR U.S. DISTRICT JUDGE
